Case 2:11-cv-01396-SHL-cgc Document 967 Filed 12/06/17 Page 1 of 5                      PageID 12101



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION

  DAMIAN ORLOWSKI, et al.,

         Plaintiffs on behalf of themselves
         and all other similarly situated,

  v.                                                   No. 2:11-cv-01396
                                                       JURY DEMANDED

  LARRY BATES, et al.

         Defendants.


         RECEIVER’S STATUS REPORT REGARDING PROPERTY SUBJECT TO
                        PREJUDGMENT ATTACHMENT


         John L. Ryder, as the Receiver for Information Radio Network, Inc. (“IRN”), First

  American Monetary Consultants, Inc. and FAMC PM, LLC (together “FAMC”) (collectively the

  “Receivership Entities”), submits this report regarding the status of property subject to the orders

  of pre-judgment attachment (ECF Nos. 440 and 443) located at 3680 Winwood Farms Loop.

         1.      In August 2015, Plaintiffs and the Receiver attached the property located at 3680

  Winwood Farms Loop occupied by Defendant Chuck Bates and his family.

         2.      After a hearing and consultation with Mr. Bates and his then attorney, the

  Receiver and Mr. Bates entered into a consent order permitting Mr. Bates to continue to use the

  property as long as he made payments toward the mortgage, paid property taxes and insurance,

  and maintained the property (ECF No. 488).

         3.      The consent order also permitted the Receiver to foreclose on the property if Mr.

  Bates breached any of the terms of the order.

         4.      Mr. Bates abided by the terms of the order until November 2017.
Case 2:11-cv-01396-SHL-cgc Document 967 Filed 12/06/17 Page 2 of 5                      PageID 12102



         5.      On November 22, 2017, Mr. Bates filed a letter in Case No. 15-2526, Ryder v.

  Bates ECF No. 138, indicating that he and his family were abandoning the property as of

  December 1, 2017. A true and correct copy of the letter is attached as Exhibit A.

         6.      In response to the letter, the Receiver contacted the electric company to transfer

  the utilities, contacted his insurance carrier to add the property to his policy, and informed the

  property manager.

         7.      On December 5, 2017, the property manager received a call from a neighbor of

  Mr. Bates. When the family abandoned the house, they also abandoned their dog. The dog

  appeared at the neighbor’s house with a neck injury that required treatment. The neighbor asked

  for the dog’s house and the Receiver gave the neighbor the dog house.

         8.      The Receiver intends to list the property for sale as soon as practicable and will

  file a separate notice of sale procedure at that time.

                                       Respectfully submitted,

                                       HARRIS SHELTON HANOVER WALSH, PLLC

                                         BY:            s/ Laura S. Martin
                                                 John L. Ryder Tenn. Disc. No. 8258
                                                 Laura S. Martin Tenn. Disc. No. 26457
                                                 40 South Main, Suite 2700
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                                                 Memphis, Tennessee 38103-2555
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                                                 lmartin@harrisshelton.com

                                                 Receiver and Counsel to the Receiver




                                                     2
Case 2:11-cv-01396-SHL-cgc Document 967 Filed 12/06/17 Page 3 of 5             PageID 12103



                               CERTIFICATE OF SERVICE

         I certify that on December 6, 2017, the foregoing document was served on counsel of
  record for Plaintiffs through the CM/ECF system, and by U.S. Mail, postage pre-paid, on
  Defendant Barbara Bates, 3780 Winwood Farms Loop, Middleton, TN 38052; Defendant
  Charles Bates, 3680 Winwood Farms Loop, Middleton, TN 38052; and Larry Bates (Inmate
  #27604076), Robert Bates (Inmate #27606076), and Kinsey Bates (Inmate #29635076), P.O.
  Box 509, Mason, TN 38049.
  .

                                                         s/ Laura S. Martin
                                                  Laura S. Martin




                                              3
Case
Case2:11-cv-01396-SHL-cgc
     2:15-cv-02526-SHL-cgc Document
                           Document967
                                    138 Filed
                                        Filed12/06/17
                                              11/22/17 Page
                                                       Page41of
                                                              of52 PageID
                                                                   PageID12104
                                                                          1027




                                                                  Exhibit A
Case
Case2:11-cv-01396-SHL-cgc
     2:15-cv-02526-SHL-cgc Document
                           Document967
                                    138 Filed
                                        Filed12/06/17
                                              11/22/17 Page
                                                       Page52of
                                                              of52 PageID
                                                                   PageID12105
                                                                          1028
